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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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IN RE:                                                                STANDING
                                                                       ORDER
ELECTRONIC FILING OF CERTAIN CRIMINAL                                  M10-468
APPLICATIONS UNDER SEAL

------------------------------------X


WHEREAS the court’s Electronic Case Filing (“ECF”) system has been modified to allow
attorneys representing the United States to initiate certain criminal applications through the Court’s
ECF system, and
WHEREAS the Local Rules for the Southern District of New York provide that, subject to certain
exceptions, documents filed in criminal cases must be filed electronically through the court’s ECF
system (Local Criminal Rule 1.1(b), Local Civil Rule 5.2 and ECF Rule 1.3), and

WHEREAS the exceptions to ECF filing include applications for warrants and orders in aid of a
criminal investigation or grand jury proceeding, and

WHEREAS it having been determined that the court, the bar, and the public would benefit from
the electronic filing of certain criminal applications, it is hereby

ORDERED, effective July 24, 2023, unless expressly permitted by another applicable rule or
otherwise ordered by the court, applications identified as “Electronic Criminal Applications” in
Appendix B to the court’s ECF Rules & Instructions must be filed electronically by attorneys
representing the United States through the court’s ECF system in accordance with the procedures
set forth in Appendix B.

A.       Filing Procedures

Filing procedures for Electronic Criminal Applications may be found in Appendix B to the court’s
ECF Rules & Instructions. Unless expressly permitted by another applicable rule or otherwise
ordered by the court, applications identified as “Electronic Criminal Applications” in Appendix B
to the court’s ECF Rules & Instructions shall be filed electronically in accordance with those
procedures.

B.       Access

Documents in connection with Electronic Criminal Applications shall be filed under seal through
the ECF system. The public shall have access through the Public Access to Court Electronic
Records (“PACER”) system to the following information only, unless otherwise ordered by the
court:

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       (1)    the docket number associated with the Electronic Criminal Application;
       (2)    the date of filing (including the dates of the initial application and any subsequent
              filings);
       (3)    the name of the attorney who submitted the application via ECF;
       (4)    the type of Electronic Criminal Application, i.e., whether it is an Application for a
              Section 2703(d) order, a pen register/trap and trace order or other type of order; and
       (5)    whether a phone number, email account, social media account, internet protocol
              (IP) address, internet messaging account, or other type of target is the subject of the
              Electronic Criminal Application.

C.     Application of Other Rules

Except as noted with respect to Local Criminal Rule 1.1(b), Local Civil Rule 5.2, and ECF Rule
1.3, all federal and local rules continue to apply to all Electronic Criminal Applications and
documents filed under this Standing Order.


SO ORDERED.


Dated: June 26, 2023
       New York, NY



                                                     _________________________________
                                                              Laura Taylor Swain
                                                                Chief Judge




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